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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

ALPHABET PHILLY, LLC et. al.               )
                                           )
                    Plaintiff,            )                 CIVIL ACTION NO:
                                           )                2:19-cv-06116 RBS _
                                           )
ABC CAPITAL INVESTMENTS, LLC              )
                    et. al,                )                DEMAND FOR A JURY TRIAL
                    Defendant.             )
                                           )
__________________________________________ )

                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       ALPHABET PHILLY, LLC et. al. ( “AP”), (“Plaintiffs”), by and through their attorneys

Mu’min F. Islam, Esq and Brittany R. Gardner, Esq, hereby file this Motion for Preliminary

Injunction ( “Motion”) against Defendants ABC CAPITAL INVESTMENTS, LLC et. al

(“Defendants”) and respectfully request this Court grant their Motion and issue an order consistent

with the proposed form of order attached hereto, enjoining the Defendants to provide access to

corporate records and books related to the properties identified in Exhibit A (“Properties”) and

prohibit Defendants directly or indirectly from accessing individual and corporate bank accounts

identified in Exhibit A (“Accounts”).

       In support of its Motion, Plaintiffs rely on the facts and law set forth in their supporting

Memorandum of Law and Complaint in this action.

                                                     Respectfully submitted,

                                                     /s/ Mu’min Islam
June 18, 2020                                        Mu’min F. Islam, Esq. ID# 208979
                                                     Brittany R. Gardner, Esq. ID# 323604
                                                     Attorneys for Plaintiffs
                                                     7433 Limekiln Pike, Suite 210
                                                     Philadelphia, PA 19138
                                                     Phone: (215) 735-2357




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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

ALPHABET PHILLY, LLC et. al.               )
                                           )
                    Plaintiff,            )                   CIVIL ACTION NO:
                                           )                  2:19-cv-06116 RBS _
                                           )
ABC CAPITAL INVESTMENTS, LLC              )
                    et. al,                )                  DEMAND FOR A JURY TRIAL
                    Defendant.             )
                                           )
__________________________________________ )

                                             ORDER
       AND NOW, on this ____ day of ____________, 2020, upon the Motion for Preliminary

Injunction (the “Motion”) filed by Plaintiffs ALPHABET PHILLY, LLC et. al. (“Plaintiffs”),

against Defendants ABC CAPITAL INVESTMENTS, LLC et. al (“Defendants”), Plaintiffs’

supporting Memorandum of Law, Complaint, and supporting materials, and Defendants’

opposition, if any, and having held a hearing on ___________________, 2020, the Court finds

Plaintiffs have established:

       1.      There is a substantial likelihood Plaintiffs will succeed on the merits of their claims

against Defendants;

       2.      Plaintiffs will suffer immediate and irreparable harm if Defendants’ unlawful

conduct remains unabated;

       3.      The irreparable injury Plaintiffs face outweighs any injury e Defendants will sustain

because of the immediate injunctive relief; and

       4.      The public interest will be served by the granting of the immediate injunctive relief.

       WHEREFORE, IT IS HEREBY ORDERED Plaintiffs’ Motion for Preliminary Injunction

is GRANTED, and the Defendants are hereby bound by the following:



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        1.         For the duration of this Preliminary Injunction, Defendants ABC Capital Realty,

LLC, ABC Capital Investments, LLC, Philly Acquisitions, LLC, Giovanni Real Estate, LLC, New

Philly Construction, LLC, State-side Philly, LLC, Jason Walsh, and Karen Lee-Walker

(“Defendants”) shall provide Plaintiffs access to all corporate records and books related to the

Properties identified in Exhibit A (“Properties”)for inspection by Plaintiffs within thirty (30) days;

        2.         Defendants are enjoined from having access directly or indirectly to the bank

accounts identified in Exhibit A of this Order (“Accounts”);

        4.         Defendants shall maintain and hold all records, documents, or other forms of

information, including that which is stored in electronic form in any place which Defendants may

store such information, which relate to the allegations in the Complaint, to ensure fair conduct of

this litigation;

        5.         Any person, including any corporation, partnership, franchise, or other business

entity, having received notice of this Order pursuant, shall afford it full faith and credit and

undertake all reasonable efforts to safeguard any information relating to Plaintiffs’ claims and take

no action to assist Defendants in the aforementioned Plaintiffs’ requests.

        IT IS HEREBY FURTHER ORDERED THAT:

        1.         A hearing is set on the Plaintiffs’ Motion for Preliminary Injunction to be held on

________________, 2020, at _____ o’clock a.m./p.m. in Courtroom of the United States District

Court for the Eastern District of Pennsylvania.

        2.         The Plaintiffs shall immediately provide notice of this Order and, to the extent they

have not already, make service of all papers upon Defendants.

        3.         This Preliminary Injunction is entered at ______ a.m./p.m. and shall remain in

effect unless otherwise modified by an order of this Court.



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SO ORDERED.

ENTERED this ______ day of ______________, 2020.




                                             ______________________________

                                             J.




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MFI LAW GROUP, LLC
Mu’min F. Islam, Esq
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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

ALPHABET PHILLY, LLC et. al.               )
                                           )
                    Plaintiff,            )                   CIVIL ACTION NO:
                                           )                  2:19-cv-06116 RBS _
                                           )
ABC CAPITAL INVESTMENTS, LLC              )
                    et. al,                )                  DEMAND FOR A JURY TRIAL
                    Defendant.             )
                                           )
__________________________________________ )

       MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                     PRELIMINARY INJUNCTION


       Plaintiffs ALPHABET PHILLY, LLC et. al. (the “Plaintiffs”), by and through their

Attorneys Mu’min F. Islam Esq. and Brittany R. Gardner, Esq., hereby file this Memorandum of

Law in support of their Motion for Preliminary Injunction (“Motion”) against Defendants ABC

CAPITAL INVESTMENTS, LLC et. al, (“Defendants”) to enjoin Defendants from: (1)

Defendants shall be ordered to turn over corporate records and books related to the properties

identified in Exhibit A (“Properties”) and (2) Defendants are enjoined from having access directly

and indirectly to the financial assets within their personal or corporate bank accounts identified in

Exhibit A (“Accounts”).




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    I.       STATEMENT OF RELEVANT FACTS

         Defendants collectively own, operate, or managed properties through various related

entities with the purpose of selling them to individuals in exchange for a guaranteed return of their

investment. Each purchaser (“Investor”) enters into an Agreement of Sale and Property

Management Agreement with Defendants for the renovation, management and/or collection of

rent based upon the property and amount invested. Defendants utilize its website1 as well as other

digital marketing mechanisms such as YouTube to advertise its business practices. The website

explicitly guarantees fixed returns through guaranteed rental income on all acquisitions with a

“Passive Income with Turn-Key Rental.”2 Moreover, Defendants investments are “hands off real

estate” catering to clients outside of Pennsylvania with high returns of “10% - 40%.”3

         Upon agreeing to terms on a property, Defendants entered into an Agreement of Sale

utilizing the Pennsylvania Association of Realtors’ Standard Agreement for the Sale of Restate

(“Agreement of Sale or AOS”) with the Investor. An Addendum to the AOS includes a warranty

by Defendants for the following: (1) 3-year warranty for all maintenance costs; (2) roof warranty

for 15 years; (3) guaranteed rent for 3 years (the amounts vary per transaction); (4) statement

regarding new tenant will be secured at no costs to the client for the first 3 years, if current tenant

relocates; (5) investor has no obligation for payment to secure tenants for first 3 years; and (6)

inspection rights for the investor after the completion of any renovations.

         To complete the transaction, Defendants create Limited Liability Companies (“LLC”) for

an Investor, used as a conduit to purchase the property. The LLC’s principal place of business and

registered addresses are under Defendant’s exclusive control. At closing, the Investor enters into



1
  See http://www.abccapitalinvestments.com last visited June 14, 2020.
2
   Hands off Rental Property, Homepage, https://www.abccapitalinvestments.com, (last visited June 15, 2020).
3
   Hands off Rental Property, Homepage, https://www.abccapitalinvestments.com, (last visited June 15, 2020).

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a Property Management Agreement (“PMA”) with Defendants, setting forth the fixed return

amount the Investor is to receive per year based upon rents collected solely upon the efforts of

Defendants. At closing, the Investor pays the agreed upon fixed acquisition cost along with

necessary closing costs to transfer the property to the newly formed entity. In certain transactions,

Defendants provide renovation services for the property necessary to receive expected returns of

rental income. At closing, the Investor does not take control of the property, but instead the

property is controlled by Defendants as set forth in the PMA managing and promoting a monetary

return.

    II.      LEGAL STANDARD

          To grant a preliminary injunction a court must find the party seeking the injunction satisfies

four factors: “(1) a likelihood of success on the merits; (2) he or she will suffer irreparable harm if

the injunction is denied; (3) granting relief will not result in even greater harm to the nonmoving

party; and (4) the public interest favors such relief.”4

          Plaintiffs satisfies all four elements and Defendants should be immediately enjoined: (1)

to turn over corporate records and books related to the Properties and (2) from having access

directly and indirectly to the financial assets within their personal or corporate Accounts. Should

the Court deny Plaintiffs’ request, Defendants will have unfettered authority to sell, transfer, and/or

manage the Properties in which Plaintiffs hold the sole equitable interest. Additionally, due to

lack of sufficient communication on Defendants’ part, they collected rental payments up behalf of

Plaintiffs through 2019. Plaintiffs’ did not receive those rental payments. Thus, Defendants have

control and/or unfettered access to rental payments owed to Plaintiffs without any supervision. To

allow Defendants’ such access would be to Plaintiffs’ detriment. Moreover, Defendants served as


4
 Bimbo Bakeries USA, Inc. v. Botticella, 613 F.3d 102, 119 (3d Cir. 2010) (internal quotations and citations
omitted).

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property managers and access to its corporate records are the only method for undertaking proper

transfer of management of the Properties. Plaintiffs in 2019 utilize another property management

company to handle the Properties. However, there are continual notices from the City of

Philadelphia regarding the Properties’ outstanding obligations which were not addressed. Without

such information, Plaintiffs will suffer undue burden in unraveling the myriad of liabilities

attached to the Properties. Based on the allegations in the Complaint, it is apparent Defendants’

fraudulent practices in their investment enterprise constitutes multiple misrepresentations to

Plaintiffs. While the Defendants’ actions are in general lawlessness and specific financial loss to

the Plaintiffs, the continued access and/or ability to control the Properties may not be compensated

subsequently solely by money damages.

   III.      Legal Argument

             a. THE PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR CLAIMS.

          Defendants’ actions identified in the Complaint supports Plaintiffs likelihood of

succeeding on its claims. Based on the seriousness of the allegations involving the Securities Act

of 1933 (“Securities Act”), Securities Exchange Act of 1934 (“Exchange Act”), Investment

Advisers Act of 1940 (“Advisers Act”), and violations of the Racketeer Influenced and Corrupt

Organizations Act (“RICO”), it is clear Defendants’ actions or inactions constitute a violation of

law. Defendants’ actions plainly meet the elements of the laws identified in the Complaint. In

addition to the federal violations, there are clear breach of contract and fraudulent

misrepresentation in the management of Plaintiff’s investments. Plaintiffs well pleaded Complaint

identifies a clear Ponzi Scheme in which Defendants use proceeds from one investment (sale of

property) to fund distributions to other Investors disguised as rental income. As a result Plaintiffs

are likely to win on the merits of their claims, requiring Defendants to transfer control of the



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Properties to Plaintiffs, return monies improperly received, and/or pay further penalties and fees

based upon liabilities not addressed by Defendants on Plaintiffs’ behalf.

       In addition to breach of contract and securities laws violations, Plaintiffs’ Complaint

outlines a clear “fraudulent enterprise” subject to the RICO statute. Defendants racketeering

activities involving several businesses serving as sellers, buyers, or property managers for the

respective investments. In each of these cases, Defendants are aiding and abetting Pennsylvania

citizens and others, each of whom are persons with, or employed by, the enterprise, or engage in

ancillary support, did knowingly, willfully and unlawfully conduct or participate, directly or

indirectly in the affairs of the enterprise through a pattern of racketeering activity within the

meaning of 18 U.S.C. § 1961(1), 1961 (5), and 1962(C). The racketeering activity was made

possible by Defendants’ regular and repeated use of the facilities and services of the enterprise.

Defendants had the specific intent to engage in the substantive RICO violation engaged herein.

The Defendants are not only creating lawlessness activity and violating federal and state laws, but

they are spreading it in a way which will grow exponentially with no way of disrupting their

fraudulent enterprise.

           b. Plaintiffs and All Pennsylvanians Will Suffer Irreparable Harm By Allowing
              Defendants to Control Properties Without Plaintiffs’ Involvement If
              Injunctive Relief Is Not Granted.


       Plaintiffs require an injunction to prevent irreparable harm. To determine the existence of

immediate and irreparable harm, the party seeking the “preliminary injunction must show that an

injunction is necessary to prevent immediate and irreparable harm that cannot be adequately




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compensated by damages.”5 The Court must “accord appropriate significance to the real and

immeasurable harm.”6 Moreover, the potential harm cannot be speculative in nature.7

        In the instant matter, Plaintiffs will suffer immediate and irreparable harm if an injunction

is not granted. Defendants had complete control over twenty-eight (28) Properties, including but

not limited to ability to, sell, transfer, collection of rent and management of some properties up

until 2019. Plaintiffs, majority of whom reside outside of the United States, are unaware of how

their properties were managed or if they incurred obligations that are now outstanding. For several

years, Plaintiffs did not receive any rental payments, have zero access to corporate books to assess

the financial accounting, and are therefore severely limited in their ability to properly manage or

maintain the Properties. There is clear imminent harm to Plaintiffs by allowing Defendants to

mismanage Plaintiffs income in the Accounts. Moreover, without proper access to the corporate

books and records, Plaintiffs are without sufficient knowledge of the state of the Properties to

remain compliant and prevent further harm. Such harm is cognizable and forms the basis of the

litigated matter.

        The existences of irreparable harm cannot be based solely upon a possibility, however,

instead the injunctive relief “may only be awarded upon a clear showing that the plaintiff is entitled

to such relief.”8 Plaintiffs are investors within Defendants investment enterprise. Through

Plaintiffs investments, Defendants purchased, managed and controlled properties then distributes

returns to the Investor. In addition, the parties enter into a 3 year property management agreements.

Defendants have no further management rights. Moreover, Plaintiffs seek access to Defendants’

corporate books and records necessary to address the myriad of issues subjected to the Properties.


5
  Summitt Towne Ctr., Inc. v. Shoe Show of Rocky Mount, Inc., 828 A.2d 995, 1001 (PA 2003).
6
  Id. at 999.
7
  Id. at 1005.
8
  Mazurek v. Armstrong, 520 U.S. 968, 972 (1997).

                                                       10
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Finally, Plaintiffs are entitled to prohibit Defendants access to the funds within the respective

Accounts as these funds consist of rental income collected on behalf of Plaintiffs. The Accounts

sought to be enjoined were used by Defendants previously to transmit rental payments collected

on behalf of Plaintiffs. As a result, Plaintiffs are entitled to the relief of preventing Defendants’

access to the Accounts, as there remains funds owed to Plaintiffs. Plaintiffs would have no remedy

at law if Defendants continue its exclusive control over the Accounts thereby causing further

destruction and/or continued fraud.

        Harm is imminent as there are daily liabilities and obligations incurred by the Properties

for which Defendants failed to adequately address. In fact, prior to litigation Defendants’ failure

to address the issues have caused at least two properties to be reclaimed and foreclosed upon, failed

to secure proper licenses and permits to comply with local housing regulations and have incurred

over $30,000.00 in costs of fines for utilities and other violations.9 Defendants, based on its own

admission, markets its enterprise as a “hands-off” option for investors.10 Plaintiffs weren’t granted

access to any of the day-to-day operations of the properties, nor were they informed whether their

properties were being sold.11 Plaintiffs have no way of obtaining the debts and obligations on the

Properties without access to the corporate books.

        Here, granting an injunction would not disproportionately harm Defendants because

Defendants use and control of the funds were obtained fraudulently based on misrepresented

facts.12 In other words, an injunction cannot disproportionately harm Defendants, in which

Plaintiffs have an equitable interest in the actions sought which substantially outweighs

Defendants.


9
  See Complaint dated December 24, 2019, ECF No. 2:19-cv-06116-RBS Pg. 12, ¶76 – 79.
10
   Hands off Rental Property, Homepage, https://www.abccapitalinvestments.com, (last visited June 15, 2020).
11
   Id., See also Defs’. Answer dated May 22, 2020, ECF No. 2:19-cv-06116-RBS, Pg. 12, ¶ 76, 77, and 79.
12
   See Summit, 828 A. 2d 995, 1001 (2003).

                                                      11
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                c. Granting relief will not result in even greater harm to the nonmoving party.

           Since the Accounts maintain funds owed to Plaintiffs, there is no harm to enjoin. The

balance between injunctive relief and harm favors Plaintiffs. When determining whether to issue

a preliminary injunction, the court considers the “extent to which defendant will suffer irreparable

harm if the preliminary injunction is issued.”13 Here, there is no harm to Defendants by granting

the requested injunctive relief. Defendants will be enjoined to provide access to information

requisite to managing the Properties and will prevent Defendants from usurping Plaintiffs rental

income being held by Defendants as custodian. Conversely, if injunctive relief is not granted,

Defendants can continue its racketeering “scheme” given its exclusive access to Plaintiffs

Accounts. Furthermore, as Defendants continue their “scheme” with other non-related parties,

Plaintiffs Assets and/or monies may be comingled with other obligations or current and future

lawsuits. To date there are over forty (40) litigated cases against Defendants involving similar

causes of action. If these litigated matters usurp Plaintiffs monies in the Accounts and/or

Properties, Plaintiffs harm will be immeasurable. There is no going back after the damage is done.

           The contours of an injunction are shaped by the sound discretion of the trial judge.”14.

Enjoining Defendants from participating in racketeering behavior does not result in greater harm

to the nonmoving party. Moreover, it is unlikely for an injunction to result in greater harm to

Defendants because Plaintiffs’ relief sought is solely based upon returning Plaintiffs access to its

funds in the Accounts.




13
     Pappan Entertainment, Inc. v. Hardee’s Food sys., 143 F.3d 800, 803 (3d Cir. 1998).
14
     George Basch Co. v. Blue Coral, Inc., 968 F.2d 1532, 1542 (2d Cir. 1992), cert denied, 506 U.S. 991 (1992).

                                                            12
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             d. An Injunction Will Serve the Public Interest.

         The RICO statute expressly authorizes the imposition of “reasonable restrictions on the

future activities” of violators.15 The Court has given a broad reading to the phrase “reasonable

restrictions.”16 In general “a district court has broad discretion to enjoin possible future violations

of law where past violations have been shown, and the court's determination that the public interest

requires the imposition of a permanent restraint should not be disturbed on appeal unless there has

been a clear abuse of discretion.”17

         Here, the public interest is clear. Plaintiffs assert in its Complaint Defendants’ actions

violated RICO causing Plaintiffs harm. Defendants’ violations of state and federal laws as set forth

herein, each of which directly and proximately injured Plaintiffs, constitute a continuous course of

conduct spanning over five years. During this period, Defendants intended and successfully

obtained money through false representations, fraud, deceit, and other improper unlawful means.

Therefore, said violations were a part of a pattern of racketeering activity under 18 U.S.C. §

1961(1) and (5).18 Since at least 2012, Defendants engaged and continue to engage in a pattern and

practice of fraudulently obtaining control over properties from individuals similarly situated as

Plaintiffs in Pennsylvania and the public at large. If Defendants proceed, there is no way to undo

damage occurred and compensate for the damage.

         The continuity of Defendants’ fraudulent conduct and current plans of expanding into other

markets must be considered detrimental to the public. Defendants’ website provides Philadelphia




15
   18 U.S.C. §1964(a).
16
   See United States v. Private Sanitation Industrial Ass’n, 995 F.2d 375, 377 (2d Cir. 1993)(holding the statute
“grants courts broad discretion and latitude in enjoining violations from activities that might lead to future
violations.”).
17
   SEC v. Manor Nursing Centers, Inc., 458 F.2d 1082, 1100; 1183 (2d Cir. 1972).
18
   Supra Note 9, Pg. 23, ¶152.

                                                          13
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statistics for potential investors.19         However, it also provides its client portfolio showing

Defendants’ enterprise extends not only to Philadelphia, but also Montgomery and Delaware

County.20 Moreover, Defendants have over 886 clients and 1,357 properties with no end in sight.21

In United States v. Carson, the Second District held:

            authority to order disgorgement derives from the broad equitable
           powers given courts under the securities laws to provide such remedies
           as are necessary to make effective the congressional purpose....The
           fashioning of equitable remedies under the securities laws lies within
           the sound discretion of the court....A court exercising the broad
           equitable powers of RICO's § 1964 has similar, if not wider, latitude in
           designing appropriate relief.22

Similarly, the Third Circuit has held, “where a private plaintiff in a civil RICO action has been

permitted to seek preliminary injunctive relief, the courts have consistently applied traditional

preliminary injunction standards, including the requirement of irreparable harm in the absence of

an injunction.”22 The Third Circuit recognizes:

           a plaintiff may prevail upon a request for preliminary injunctive relief
           where the underlying wrong is compensable by damages where the
           preliminary injunction is necessary to preserve the future damages
           judgment. The “fact that the payment of monies is involved does not
           automatically preclude a finding of irreparable injury.”23

It should follow here, it is in the public interest for this Court to grant a temporary injunction, at a

minimum until a proper injunction hearing may be held and the Plaintiffs’ claims may be properly

considered and adjudicated. The Third Circuit has made clear in RICO cases, the standard for

injunctive relief is the same as the traditional standard and relief should be granted to prevent


19
   Facts About Philadelphia, https://www.abccapitalinvestments.com/about-philadelphia/, (last visited June 15,
2020).
20
   Hands off Rental Property, Homepage, https://www.abccapitalinvestments.com, (last visited June 15, 2020).
21
   Id.
22
   United States v. Carson, 52 F.3d 1173, 1181 (2d Cir. 1995).
23
   Jackson v. Rohm & Haas Co., CIVA 05-4988, 2009 WL 948741, at *4 (E.D. Pa. Mar. 20, 2009); Andrews v.
Holloway, CIV. A. 95-1047(JBS), 1995 WL 875883, at *(D.N.J. Nov. 9, 1995) (granting a preliminary injunction where
plaintiffs pled civil RICO and state law claims and where the traditional requirements for obtaining injunctive relief
were met ); See also United Steelworkers v. Fort Pitt Steel Casting, 598 F.2d 1273, 1280 (3d Cir. 1979).

                                                         14
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future irreparable harm, not only to plaintiffs, but to the public. It is apparent from the facts,

extenuating across numerous individuals residing throughout the world, the public interest is

severely at stake. Moreover, Defendants “scheme” into future states and jurisdictions demonstrates

further impact upon the public interest, which would be best served by issuing the requested

injunctive relief.

    IV.      CONCLUSION

          For the foregoing reasons, this Court should grant Plaintiffs’ motion for a preliminary

injunction pending a full hearing on the merits of its motion.



                                                             Respectfully submitted,
                                                             /s/ Mu’min Islam
June 18, 2020                                                Mu’min F. Islam, Esq.
                                                             Attorney ID. No. 208979
                                                             Brittany R. Gardner, Esq.
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                                                             Phone: (215) 735-2357




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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


ALPHABET PHILLY, LLC et. al.               )
                                           )
                    Plaintiff,            )                     CIVIL ACTION NO:
                                           )                    2:19-cv-06116 RBS _
                                           )
ABC CAPITAL INVESTMENTS, LLC              )
                    et. al,                )                    DEMAND FOR A JURY TRIAL
                    Defendant.             )
                                           )
__________________________________________ )

                               CERTIFICATE OF SERVICE

       I,   Mu’min    F.    Islam,     do   hereby    certify     that   on   this    18th   day   of

June, 2020. I caused a true and correct copy of the foregoing document to be served on the

individuals and in the manner indicated below:


                                   VIA ECF SYSTEM
                                 AND FIRST CLASS MAIL

                                       Andrew Swain, Esq.
                                       The Swain Law Firm
                                         2410 Bristol Rd.
                                       Bensalem, PA 19020
                                     swain@swainlawfirm.com


DATED: June 18, 2020




                                                 16
